     Case
      Case2:12-cr-00268-JAD-CWH
            2:12-cr-00268-JAD-CWH Document
                                  Document166  Filed02/15/17
                                           165 Filed 02/15/17 Page
                                                               Page11
                                                                    ofof
                                                                       33




 1   RENE L. VALLADARES
     Federal Public Defender
 2   State Bar No. 11479
     RAQUEL LAZO
 3   Assistant Federal Public Defender
     State Bar No. 8540
 4   411 E. Bonneville, Ste. 250
     Las Vegas, Nevada 89101
 5   (702) 388-6577/Phone
     (702) 388-6261/Fax
 6   Raquel_Lazo@fd.org

 7   Attorney for In Seon Seong

 8
                                 UNITED STATES DISTRICT COURT
 9
                                       DISTRICT OF NEVADA
10
11   UNITED STATES OF AMERICA,                                  Case No. 12-cr-268-JAD-CWH

12                  Plaintiff,                                STIPULATION TO CONTINUE
                                                                SENTENCING HEARING
13           v.
                                                                    (Second Request)
14   IN SEON SEONG,

15                  Defendant.

16
17           IT IS HEREBY STIPULATED AND AGREED, by and between Daniel G. Bogden,
18   United States Attorney, and Kimberly M. Frayn, Assistant United States Attorney, counsel for
19   the United States of America, and Rene L. Valladares, Federal Public Defender, and Raquel
20   Lazo, Assistant Federal Public Defender, counsel for In Seon Seong, that the Sentencing
21   Hearing currently scheduled on February 27, 2017 at 9:00 a.m., be vacated and continued to a
22   date and time convenient to the Court, but no sooner than ninety (90) days.
23           This Stipulation is entered into for the following reasons:
24           1.     The parties are still in the process of attempting to negotiate restitution in this
25   case.
26
     Case
      Case2:12-cr-00268-JAD-CWH
            2:12-cr-00268-JAD-CWH Document
                                  Document166  Filed02/15/17
                                           165 Filed 02/15/17 Page
                                                               Page22
                                                                    ofof
                                                                       33




 1          2.      It is anticipated that the government and Ms. Seong's codefendants will either
 2   negotiate or litigate the restitution issue. The parties agree that Ms. Seong should receive any
 3   benefit that the codefendants should receive regarding restitution.
 4          3.      The defendant is not in custody and does not oppose a continuance.
 5          4.      The parties agree to the continuance.
 6          This is the second request for a continuance of the sentencing hearing.
 7          DATED this 15th day of February, 2017.
 8
 9    RENE L. VALLADARES                              DANIEL G. BOGDEN
      Federal Public Defender                         United States Attorney
10
11        /s/ Raquel Lazo                                 /s/ Kimberly M. Frayn
      By_____________________________                 By_____________________________
12    RAQUEL LAZO                                     KIMBERLY M. FRAYN
      Assistant Federal Public Defender               Assistant United States Attorney
13
14
15
16
17
18
19
20
21
22
23
24
25
26
                                                      2
     Case
      Case2:12-cr-00268-JAD-CWH
            2:12-cr-00268-JAD-CWH Document
                                  Document166  Filed02/15/17
                                           165 Filed 02/15/17 Page
                                                               Page33
                                                                    ofof
                                                                       33




 1                               UNITED STATES DISTRICT COURT

 2                                   DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                                    Case No. 12-cr-268-JAD-CWH
 4
                    Plaintiff,                                              ORDER
 5
            v.
 6
     IN SEON SEONG,
 7
                    Defendant.
 8
 9
10          IT IS THEREFORE ORDERED that the sentencing hearing currently scheduled for

11   Monday,      February   27,   2017   at   9:00       a.m.,   be   vacated   and   continued   to

12   May 30, 2017 at the houratof
     _____________________     the9:00
                                   houra.m.
                                        of ____:____ ___.m.; or to a time and date convenient to

13   the court.
           DATED
            DATEDthis
                  this15th day day
                       _______ of February, 2017.
                                   of February, 2017.
14
15
16                                               _______________________________
                                                 UNITED STATES DISTRICT JUDGE
17
18
19
20
21
22
23
24
25
26
                                                      3
